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  SCHEDULE
     A
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                                  SCHEDULE A

                         AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and

3114, which authorize the condemnation of land and the filing of a Declaration of

Taking; the Act of Congress approved September 30, 1996, as Public Law 104-208,

Division C, Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified

at 8 U.S.C. § 1103(b) & note; and the Act of Congress approved March 23, 2018, as

Public Law 115- 141, div. F, tit. II, 132 Stat. 348, which appropriated the funds that

shall be used for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                      SCHEDULE C

                                  LEGAL DESCRIPTION

                                    Starr County, Texas

Tracts: RGV-RGC-1048, RGV-RGC-1048-1, RGV-RGC-1048-2
Owner: Valley Land Fund, Inc.
Total Acres: 0.723

Tract: RGV-RGC-1048

Being a 0.324-acre tract (14,118 sq ft) parcel of land, more or less, being out of a calculated
as 0.324 acres in Porcion No. 61, in Starr County, Texas conveyed to Valley Land Fund,
Inc., tract, Volume 802, Page 695. Said parcel of land more particularly described by metes
and bounds as follows;

Starting at COE Project control marker S143, having the following NAD83 (2011) Grid
Coordinates N=16714178.62, E=784782.59; Thence S57°19’43”W a distance of 1613.29
feet to a found ½” iron rod in the center of River Road, for the Point of Commencement,
having the following coordinates: N=16713307.73, E=783424.56.

Thence: S42°36’28”W departing said road, a distance of 523.37 feet to a set 5/8” x 36”
iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1048-1=1048-1-1=1048-2-
1, on the North line of the Valley Land Fund, Inc. tract, Volume 797, Page 780 and at the
Southeast corner of the Valley Land Fund, Inc. tract, Volume 799, Page 68 and the
Southwest corner of the Valley Land Fund, Inc. tract, Volume 802, Page 695, for the Point
of Beginning, having the following coordinates: N=16712922.53, E=783070.25.

Thence: N29°46'37"W along the West line of the Valley Land Fund, Inc. tract, Volume
802, Page 695 and the East line of the Valley Land Fund, Inc. tract, Volume 799, Page 68,
crossing an existing chain link fence at 149.28 feet, a distance of 165.88 feet to a set 5/8” x
36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1046-3A=1048-
2=1048-1-4 for angle, said point being on the South Right-of-Way of River Road and at the
Northwest corner of the Valley Land Fund, Inc. tract, Volume 802, Page 695 and at the
Northeast corner of the Valley Land Fund, Inc. tract, Volume 799, Page 68;

Thence: N61°17'15"E along said Right-of-Way, along the North line of the Valley Land
Fund, Inc. tract, Volume 802, Page 695, to an existing chain link fence corner, a distance
of 69.49 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-
RGC-1046-3=1047-3=1048-3 for angle, said point being the Northeast corner of the Valley
Land Fund, Inc. tract, Volume 802, Page 695 and the Northwest corner of the Falcon Rural
Water Supply Corporation tract, Volume 378, Page 323;
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                                    SCHEDULE C (Cont.)

 Thence: S42°35'20"E departing said Right-of-Way, departing said property line, departing
 said fence corner, a distance of 160.29 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3”
 aluminum cap stamped RGV-RGC-1047-2A=1048-4=1048-2-2 for angle, said point being
 the Southeast corner of the Valley Land Fund, Inc. tract, Volume 802, Page 695 and the
 Northeast corner of the Valley Land Fund, Inc. tract, Volume 797, Page 780 and on the West
 line of the Falcon Rural Water Supply Corporation tract, Volume 378, Page 323;

 Thence: S55°42'27"W along the South line of the Valley Land Fund, Inc. tract, Volume
 802, Page 695 and the North line of the Valley Land Fund, Inc. tract, Volume 797, Page
 780, crossing a chain link fence line at 35.79 feet, a distance of 105.35 feet returning to the
 Place of Beginning.
Tract: RGV-RGC-1048-1

 Being a 0.079-acre tract (3,423 sq ft) parcel of land, more or less, being out of a calculated
 0.330 acres in Porcion No. 61, in Starr County, Texas conveyed to Valley Land Fund, Inc.,
 tract, Volume 799, Page 68. Said parcel of land more particularly described by metes and
 bounds as follows;

 Starting at COE Project control marker S143, having the following NAD83 (2011) Grid
 Coordinates N=16714178.62, E=784782.59; Thence S57°19’43”W a distance of 1613.29
 feet to a found ½” iron rod in the center of River Road, for the Point of Commencement,
 having the following coordinates: N=16713307.73, E=783424.56.

 Thence: S42°36’28”W departing said road, a distance of 523.37 feet to a set 5/8” x 36”
 iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1048-1=1048-1-1=1048-
 2-1, on the North line of the Valley Land Fund, Inc. tract, Volume 797, Page 780 and at
 the Southeast corner of the Valley Land Fund, Inc. tract, Volume 799, Page 68 and the
 Southwest corner of the Valley Land Fund, Inc. tract, Volume 802, Page 695, for the Point
 of Beginning, having the following coordinates: N=16712922.53, E=783070.25.

 Thence: S63°45'19"W along the South line of the Valley Land Fund, Inc. tract, Volume
 799, Page 68 and the North line of the Valley Land Fund, Inc. tract, Volume 797, Page
 780, crossing a chain link fence at 2.78 feet, a distance of 10.49 feet to a set 5/8” x 36” iron
 rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1048-1-2=1048-2-5 for angle,
 said point being on the Western boundary of the parcel herein described;

 Thence: N36°47'37"W departing said property line, along said Western boundary,
 crossing a chain link fence at 149.77 feet, a distance of 167.06 feet to a set 5/8” x 36” iron
 rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1046-4=1048-1-3 for angle,
 said point being on the North line of the Valley Land Fund, Inc. tract, Volume 799, Page
 68 and on the South line of River Road Right-of-Way;
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                                    SCHEDULE C (Cont.)

Thence: N61°17'15"E along said property line, along said Right-of-Way, departing said
Western boundary, a distance of 30.88 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3”
aluminum cap stamped RGV-RGC-1046-3A=1048-2=1048-1-4 for angle, said point being the
Northeast corner of the Valley Land Fund, Inc. tract, Volume 799, Page 68 and the Northwest
corner of the Valley Land Fund, Inc. tract, Volume 802, Page 695;

Thence: S29°46'37"E departing said Right-of-Way, along the West line of the Valley Land
Fund, Inc. tract, Volume 802, Page 695 and the East line of the Valley Land Fund, Inc. tract,
Volume 799, Page 68, a distance of 165.88 feet returning to the Place of Beginning.
Tract: RGV-RGC-1048-2

Being a 0.320-acre tract (13,918 sq ft) parcel of land, more or less, being out of a calculated
0.658 acres in Porcion No. 61, in Starr County, Texas conveyed to Valley Land Fund, Inc.,
tract, Volume 797, Page 780. Said parcel of land more particularly described by metes and
bounds as follows;

Starting at COE Project control marker S143, having the following NAD83 (2011) Grid
Coordinates N=16714178.62, E=784782.59; Thence S57°19’43”W a distance of 1613.29
feet to a found ½” iron rod in the center of River Road, for the Point of Commencement,
having the following coordinates: N=16713307.73, E=783424.56.

Thence: S42°36’28”W departing said road, a distance of 523.37 feet to a set 5/8” x 36” iron
rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1048-1=1048-1-1=1048-2-1, on
the North line of the Valley Land Fund, Inc. tract, Volume 797, Page 780 and at the Southeast
corner of the Valley Land Fund, Inc. tract, Volume 799, Page 68 and the Southwest corner
of the Valley Land Fund, Inc. tract, Volume 802, Page 695, for the Point of Beginning,
having the following coordinates: N=16712922.53, E=783070.25.

Thence: N55°42'27"E along the South line of the Valley Land Fund, Inc. tract, Volume 802,
Page 695 and the North line of the Valley Land Fund, Inc. tract, Volume 797, Page 780,
crossing a chain link fence at 69.42 feet, a distance of 105.35 feet to a set 5/8” x 36” iron
rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1047-2A=1048-4=1048-2-2 for
angle, said point being the Northeast corner of the Valley Land Fund, Inc. tract, Volume 797,
Page 780 and the Southeast corner of the Valley Land Fund, Inc. tract, Volume 802, Page
695 and on the West line of the Falcon Rural Water Supply Corporation tract, Volume 378,
Page 323;
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                                    SCHEDULE C (Cont.)

Thence: S42°35'20"E along the West line of the Falcon Rural Water Supply Corporation
tract, Volume 378, Page 323 and the East line of the Valley Land Fund, Inc. tract, Volume
797, Page 780, to an existing chain link fence corner, a distance of 99.18 feet to a set 5/8” x
36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-1047-2=1048-2-3=1049-
6 for angle, said point being the Southeast corner of the Valley Land Fund, Inc. tract, Volume
797, Page 780 and the Southwest corner of the Falcon Rural Water Supply Corporation tract,
Volume 378, Page 323 and on the North line of the Hector H. Hinojosa, Maria Helena
Hinojosa-Garza, Eulalia Elma Hinojosa-Naranjo tract, Volume 744, Page 650;

Thence: S40°53'15"W along the South line of the Valley Land Fund, Inc. tract, Volume 797,
Page 780 and the North line of the Hector H. Hinojosa, Maria Helena Hinojosa-Garza,
Eulalia Elma Hinojosa-Naranjo tract, Volume 744, Page 650, along said fence, a distance of
128.54 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-
RGC-1048-2-4=1049-5 for angle, said point being on the Western boundary of the parcel
herein described;

Thence: N36°47'37"W departing said property line, departing said fence, along said Western
boundary, crossing the center of an existing 8 foot wide dirt road at 61 feet, a distance of
132.61 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-
RGC-1048-1-2=1048-2-5 for angle, said point being on the North line of the Valley Land
Fund, Inc. tract, Volume 797, Page 780 and on the South line of the Valley Land Fund, Inc.
tract, Volume 799, Page 68;

Thence: N63°45'19"E along said property line, departing said Western boundary, crossing
an existing chain link fence at 7.71 feet, a distance of 10.49 feet returning to the Place of
Beginning.
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   SCHEDULE
       D
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                             SCHEDULE D

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                  SCHEDULE D (Cont.)
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SCHEY




                                   SCHEDULE D (Cont.)




        Tracts: RGV-RGC-1048, RGV-RGC-1048-1, RGV-RGC-1048-2
        Owner: Valley Land Fund, Inc.
        Total Acreage: 0.723
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    SCHEDULE
        E
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                                      SCHEDULE E

                                     ESTATE TAKEN

                                    Starr County, Texas

Tracts: RGV-RGC-1048, RGV-RGC-1048-1, RGV-RGC-1048-2
Owner: Valley Land Fund, Inc.
Total Acres: 0.723

Tract: RGV-RGC-1048
Acres: 0.324

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

       Reserving to the owners of the lands identified in Special Warranty Deed, dated
March 13, 1998, recorded on April 7, 1998, in Volume 802, Page 695, Document No. 1998-
196176, Official Records of Starr County, Texas, reasonable access to and from the
owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;

       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation and maintenance of
the border barrier.

Tract: RGV-RGC-1048-1
Acres: 0.079

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

       Reserving to the owners of the lands identified in Special Warranty Deed, dated
February 10, 1998, recorded on February 13, 1998, in Volume 799, Page 68, Document
No. 1998-195309, Official Records of Starr County, Texas, reasonable access to and from
the owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;

       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation and maintenance of
the border barrier
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                                   SCHEDULE E (Cont.)


Tract: RGV-RGC-1048-2
Acres: 0.320

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

       Reserving to the owners of the lands identified in Special Warranty Deed, dated
January 1, 1998, recorded on January 26, 1998, in Volume 797, Page 780, Document No.
1998-195035, Official Records of Starr County, Texas, reasonable access to and from the
owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;

       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation and maintenance of
the border barrier.
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                           SCHEDULE E (Cont.)
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    SCHEDULE
        F
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                                     SCHEDULE F

                       ESTIMATE OF JUST COMPENSATION



       The sum estimated as just compensation for the lands being taken is TEN THOUSAND

THREE HUNDRED NINETY-EIGHT DOLLARS AND NO/100 ($10,398.00), to be

deposited herewith in the Registry of the Court for the use and benefit of the persons entitled

thereto.
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     SCHEDULE
        G
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                                      SCHEDULE G

                               INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the
property condemned and whose names are now known, indicating the nature of each
person’s property interest(s) as indicated by references in the public records and any
other information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                         Reference
 Valley Land Fund, Inc., a Texas non-      RGV-RGC-1048
 profit corporation                        Special Warranty Deed, dated March 13,
                                           1998, recorded on April 7, 1998, in Volume
 Dennis Burleson, registered               802, Page 695, Document No. 1998-196176,
 agent                                     Official Records, Starr County, Texas
 2400 N. 10th Street, Ste. A
 McAllen, TX 78501                         Life Estate Remainderman Affidavit dated
                                           September 30, 2020, recorded as Document
                                           No. 2020-358507, Official Records, Starr
                                           County, Texas.

                                           Deed dated September 1, 2020, recorded as
                                           Document No. 2020-358534, Official
                                           Records, Starr County, Texas.

                                           Life Estate Remainderman Affidavit dated
                                           August 23, 2020, recorded as Document No.
                                           2020-358506, Official Records, Starr County,
                                           Texas.

                                           Deed dated September 1, 2020, recorded as
                                           Document No. 2020-358533, Official
                                           Records, Starr County, Texas.

                                           RGV-RGC-1048-1
                                           Special Warranty Deed, dated February 10,
                                           1998, recorded on February 13, 1998, in
                                           Volume 799, Page 68, Document No. 1998-
                                           195309, Official Records, Starr County, Texas

                                           RGV-RGC-1048-2
                                           Special Warranty Deed, dated January 1,
                                           1998, recorded on January 26, 1998, in
                                           Volume 797, Page 780, Document No. 1998-
                                           195035, Official Records, Starr County, Texas

Ameida Salinas                             Property Taxes
Starr County Tax Assessor Collector
100 N. FM 3167, Suite 201
Rio Grande City, TX 78582
